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 8                               UNITED STATES DISTRICT COURT

 9                              EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                        Case No. 1:21-CR-00131-JLT
12                      Plaintiff,                    ORDER DENYING DEFENDANT’S
                                                      MOTION FOR SENTENCE REDUCTION
13          v.
                                                      (Doc. 33)
14   LLANDRO ROMERO CUEVAS ,
15                      Defendant.
16

17          Llandro Romero Cuevas seeks a reduction in his sentence based upon the Amendments
18   to the United States Sentencing Guidelines, by noting that he received two “status points” for
19   being on parole at the time he committed the crime at issue. Though it is apparent that under the
20   Amendments Mr. Romer Cuevas is entitled to a one-point reduction in his criminal history
21   points, this reduction will not impact his criminal history category. Consequently, because the
22   sentence imposed would not change, his motion is DENIED.
23          I.      ANALYSIS
24          Mr. Romero Cuevas pleaded guilty to one count of being a felon in possession of a
25   firearm (18 U.S.C. § 922(g)(1)). (Docs. 21, 23) At the sentencing hearing, the Court determined
26   Mr. Romero Cuevas had suffered numerous convictions, which resulted in his being assigned 17
27   criminal history points. Doc. 25 at 13. Because he was under a term of parole at the time he
28   committed the offense at issue, the Court added two additional points to the total as indicated by
                                                     1
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 1   former § 4A1.1(d) of the United States Sentencing Guidelines. Id. According to the Sentencing

 2   Table in USSG Chapter 5, Part A, these 19 criminal history points, placed him in a criminal

 3   history category VI. Id.

 4          As noted by Mr. Romero Cuevas, § 4A1.1(e) of the United States Sentencing Guidelines

 5   has been amended to allow impose only one added status point for those who commit their

 6   crimes while under supervision if the defendant has at least seven criminal history points by that

 7   time. Mr. Romero Cuevas had 17 points before status points were added. A defendant is placed

 8   in Criminal History Category VI when the defendant has 13 or more criminal history points.

 9   Consequently, reducing his status points to a single point would still leave 16 criminal history

10   points, which continues him in criminal history category VI. Though the Court is impressed with

11   his efforts to rehabilitate himself in prison—given all of the coursework he has completed-- the

12   Amendment to § 4A1.1(e) has no impact on his sentence. Thu, Mr. Romero Cuevas’ motion to

13   reduce his sentence (Doc. 33) is DENIED.

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     IT IS SO ORDERED.
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16      Dated:     June 7, 2024
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